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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                NORFOLK DIVISION


   Trans-Radial Solutions, LLC
                  Plaintiff,

                         v.
                                                  Case No. 2:18-cv-00656- RAJ-DEM
   Burlington Medical, LLC, Mr. John Williams,
   Fox Three Partners, LLC, and Phillips Safety
   Products, Inc.
                 Defendants.




           DEFENDANTS’ RESPONSE TO PLAINITFF’S RULE 72 OBJECTION
             TO RULING EXCLUDING CERTAIN EXPERT OPINIONS OF
              DR. KENNETH GALL AND DR. JENNIFER VANDERHART
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         Defendants Burlington Medical, LLC (“Burlington”), Fox Three Partners, LLC (Fox

  Three”), and Phillips Safety Products, Inc. (“Phillips”) (collectively “Defendants”) submit this

  Response to Plaintiff’s Rule 72 Objection (“Objection”) to the order entered by Magistrate Miller

  on May 20, 2020, excluding unsupported damages opinions offered by Plaintiff’s two proposed

  experts, Kenneth P. Gall, Ph.D. and Dr. Jennifer Vanderhart, Ph.D. Dkt. 200 (Order). Plaintiff’s

  Objection (Dkt. 208 & 209) rehashes arguments already thoroughly addressed and correctly

  rejected by Magistrate Miller, and it should be denied.

                                          INTRODUCTION

         Plaintiff’s Objection to Magistrate Miller’s decision ignores an avalanche of facts that

  contradict the wildly inflated market projections offered by Plaintiff’s experts (including dismal

  sales data, negative feedback from would-be customers, and market contentment with similar

  decades-old products), and does nothing to rebut Magistrate Miller’s well-founded conclusion that

  the opinions at issue are unreliable. Magistrate Miller correctly ruled that Dr. Gall’s market

  projections should be excluded because Dr. Gall is not qualified to opine on projected product

  sales, because his projections are not based on reliable methods, and because he did not rely upon

  sufficient facts and data. Dkt. 200 at 1; see also Fed. R. Evid. 702. Magistrate Miller likewise

  correctly excluded Dr. Vanderhart’s speculative damages calculations, which rely mainly on Dr.

  Gall’s unreliable market projections. Id. at 2-3.

         Magistrate Miller correctly excluded Dr. Gall’s market projections because the methods

  used to generate those projections are unreliable, and indeed, undiscernible. See, e.g., Ex. A1 (May

  12, 2020 hearing transcript) at 22:12-21; Id. at 26:3-5 (“There is no model. He just said 70 percent,




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   Exhibits A-D are submitted with this Response. Other previously-filed exhibits are referenced
  by docket number.


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  a hundred percent. There isn’t anything there. He hasn’t offered any basis for how he got to those

  numbers.”) Plaintiff now seeks to obfuscate that conclusion with repetitive laundry lists of vague

  statements, none of which explain what methodology Dr. Gall actually applied, let alone why it

  was reliable. See Dkt. 208 at 9-11. Indeed, Dr. Gall showed disdain for his obligation to assist the

  jury by employing reliable methods. When asked if he could identify any treatise or text that would

  support his opinion, for example, he responded: “It would not surprise me if there were such

  reports. Harvard Business School turns out case reports like farmers turn out corn, so I’m sure we

  could find one. I cannot cite one for you.” Dkt. 108-5 (Gall Dep.) at 155:7-13.

         Magistrate Miller also correctly struck Dr. Gall’s market projections because they are not

  supported by reliable facts and data. Dr. Gall’s opinion that the Rad-Guard should have

  experienced near-universal market demand ignores actual sales data for the products at issue,

  which shows Plaintiff only sold 22 Rad-Guards over the past five-plus years.2 See Dkt. 108-3 (A.

  Shealy Dep.) at 12:25-13:4. Defendant Burlington similarly only sold 32 of its own IV mounted

  barriers during the three years it was on the market. Dkt. 108-4 (BML_0001) (IV mounted barrier

  sales). Dr. Gall also failed to conduct any market research, perform any surveys, or review any

  publications to obtain support for his opinion. See, e.g., Dkt. 108-5 at 108:11-15; Id. at 155:7-13.

         Plaintiff argues that a jury should nonetheless be allowed to consider Dr. Gall’s unfounded

  opinions and determine what weight they deserve. See Dkt. 208 at 11. That argument runs afoul

  of well-settled law on the critical gatekeeping role played by trial courts when assessing expert

  testimony, however. See Nease v. Ford Motor Co., 848 F.3d 219, 231 (4th Cir. 2017) (reversing

  district court’s finding that “reliability arguments simply go to the weight the jury should afford”




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   Plaintiff sells essentially two products—a radiation barrier that can clamp to a pole, called Rad-
  Guard, and a larger and more expensive table-top system, called Cardio-Trap.


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  to expert testimony, as that would improperly “delegate the court’s gatekeeping role to the jury.”)

  (quotation marks omitted). Allowing Dr. Gall’s unreliable opinions to go to the jury would be

  particularly problematic here because Dr. Gall seeks to present graphs that misleadingly suggest

  he used real data in an objective formula to reach his opinions, when in truth those graphs are just

  “standard” S-curves that were not generating using any actual data on the products at issue. See

  Dkt. 209-2 (Gall Report) ¶ 68; Id. ¶ 72; Ex. A at 11-16.

         Magistrate Miller also correctly held that Dr. Gall lacks the necessary expertise to opine

  on projected product sales. Dr. Gall has never previously been asked to serve as an expert regarding

  sales or marketing, and he has no formal training in those fields. Dkt. 108-5 at 155:20-23 (“Q.

  Have you ever been asked to provide any opinion, expert opinion on marketing or sales before?

  A. I have not.”); Id. at 15:23-24 (“I have not received any degrees in business from an educational

  institution.”) Dr. Gall also admitted that he never worked in cardiac catheterization labs—the

  primary market for the products at issue. Dkt. 208-1 (Gall CV) at 1-2; Dkt. 108-5 at 37:24-38:4

  (“I have not worked directly in the cardiac catheterization lab, other than to observe procedures.”).

  While Plaintiff is emphatic that Dr. Gall has had thirty years of experience “buying, selling, and

  using” radiation protection devices, Dr. Gall’s “involvement” with purchasing medical equipment

  for hospitals ceased over 15 years ago. See Dkt. 208-1.

         Given these glaring problems, it is no surprise that Plaintiff strains to challenge Magistrate

  Miller’s carefully considered decision, and ultimately resorts instead to contradicting its own prior

  briefing. For example, Plaintiff’s prior briefing emphasized Dr. Gall’s supposed familiarity with

  two specific products—a dosimeter array sold by Sun Nuclear, and a laser positioning system sold

  by Gammex. See Dkt. 115 (Pl. Opp. to Motion to Strike) at 11 (discussing Dr. Gall’s deposition

  testimony regarding “Sun Nuclear dosimeter array and Gmax [sic] lasers” as support for his




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  opinions); Id. at 22 (“Dr. Gall specifically considered other medical products that have been able

  to do the same thing through patent protection. He cited, among others, Gmax [sic] lasers. . .”).

  Plaintiff’s prior briefing also emphasized Dr. Gall’s work as an inventor. See, e.g., Dkt. 115 at 23

  (“Dr. Gall has been personally involved in developing and marketing his own radiation products

  to hospital customers.”). Magistrate Miller enquired further about those examples during the May

  12, 2020 hearing, before holding that:

         Dr. Gall’s personal involvement in the design and marketing of a complex radiation
         therapy system which sold for $28 million per unit provides no basis for his opinion
         for future sales of the Rad-Guard device which sold for less than $1,000.00. His
         anecdotal reference to two other products during his deposition did not appear to
         inform his disclosed expert opinion on future sales of the Rad-Guard as he was
         unable to offer any documentation or evidence related to either product or to any
         other similar product which might support his hypothetical projections.

  Dkt. 200 (Order) at 1-2.

         Remarkably, Plaintiff now takes issue with Magistrate Miller for addressing Plaintiff’s own

  prior arguments, complaining “no part of [Dr. Gall’s] opinion depends on Dr. Gall’s ‘personal

  involvement in the design and marketing of a complex radiation therapy system which sold for

  $28 million per unit’ or the ‘two other products’ discussed in his deposition.” Dkt. 208 at 8. What,

  then is to be made of Plaintiff’s own prior briefing and Dr. Gall’s sworn deposition testimony to

  this effect? See, e.g., Dkt. 115 at 22 (“Dr. Gall specifically considered other medical products that

  have been able to do the same thing through patent protection. He cited, among others, Gmax [sic]

  lasers. . .”) (quoting Gall Dep. at 143:15-19); Id. at 23. Having disavowed its prior arguments,

  Plaintiff is now left with essentially nothing to support Dr. Gall’s opinions, apart from Plaintiff’s

  unrealistic demands, and Dr. Gall’s subjective beliefs. See, e.g., Dkt. 108-5 at 151:7-10 (admitting

  that even his “100 percent market of 10,000 units, not surprisingly, has been criticized as

  ridiculously low” by Plaintiff’s owner and CFO); Id. at 137:23-138:5.




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         Magistrate Miller carefully assessed Plaintiff’s arguments before properly excluding Dr.

  Gall’s unqualified and methodologically baseless sales projections, and the related damages

  opinions advanced by Plaintiff’s second expert, Dr. Vanderhart. The arguments raised in Plaintiff’s

  Objection have already been briefed at length, and addressed in detail by Magistrate Miller. See

  Dkt. 107, 108, 115, 119, 127 & 129 (Motion to Strike briefing); see also, Ex. A (hearing transcript).

  Enough ink has already been spilled on Plaintiff’s implausible and methodologically unsound

  damages theory. Plaintiff’s Rule 72(a) Objection should accordingly be denied.

                                        LEGAL STANDARD

         Rule 702 of the Federal Rules of Evidence “imposes a special gatekeeping obligation on

  the trial judge to ensure that an opinion offered by an expert is reliable.” Nease, 848 F.3d at 230.

  A party seeking to rely on expert testimony “must establish its admissibility by a preponderance

  of proof.” Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 199 (4th Cir. 2001) (citing Daubert v.

  Merrell Dow Pharms., Inc., 509 U.S. 579, 592 n. 10 (1993)). In particular, “[e]xpert testimony

  must be ‘based on sufficient facts or data,’ and the expert must arrive at his opinions by properly

  applying ‘reliable principles and methods’ to the facts.” Hickerson v. Yamaha Motor Corp., 882

  F.3d 476, 480-81 (4th Cir. 2018) (quoting Fed. R. Evid. 702). Expert testimony that is merely

  “subjective belief or unsupported speculation” does not meet that standard, and must be excluded.

  Daubert, 509 U.S. at 590; Nease, 848 F.3d at 230.

         Rule 72(a) provides that a party may object to a magistrate judge’s ruling on any non-

  dispositive issue. Fed. R. Civ. P. 72(a). When considering objections pursuant to Rule Fed. R. Civ.

  P. 72(a), district courts apply a “clearly erroneous or contrary to law” standard. Id. “Only if a

  magistrate judge’s decision is ‘clearly erroneous or contrary to law’ may a district court judge

  modify or set aside any portion of the decision.” Louis Vuitton Malletier v. Haute Diggity Dog,




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  2007 U.S. Dist. LEXIS 14244, at *4 (E.D. Va. Feb. 28, 2007). A decision is clearly erroneous

  when the “reviewing court on the entire evidence is left with the definite and firm conviction that

  a mistake has been committed.” Id. (quoting U.S. v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)).

                                            ARGUMENT

         Magistrate Miller properly fulfilled the court’s role as a gatekeeper by excluding proposed

  expert opinions that are based on no more than “subjective belief or unsupported speculation.”

  Daubert, 509 U.S. at 590. Magistrate Miller’s order is amply supported by the record, and it is

  neither “clearly erroneous” nor “contrary to law.” Fed. R. Civ. P. 72(a). Plaintiff’s Objection

  should accordingly be denied, and Magistrate Miller’s order should be affirmed.

  I.   DR. GALL’S MARKET PROJECTIONS ARE UNRELIABLE AND UNSUPPORTED

         Magistrate Miller properly excluded Dr. Gall’s implausible market projections “because

  those projections are not based on any reliable data or method, and because he otherwise lacks the

  necessary qualifications, education, training, and experience to opine generally on lost future sales

  of the product.” Dkt. 200 at 1. Magistrate Miller’s conclusion is well founded since Dr. Gall’s

  market projections lack “the markers of reliability Rule 702 and Daubert require to prevent an

  expert from misleading a jury with unproven conjecture.” Hickerson, 882 F.3d at 482 (upholding

  exclusion of expert opinion unsupported by “research, data, or scientific theories.”).

         Plaintiff erroneously argues that any concerns regarding Dr. Gall’s opinions should instead

  be addressed through “cross-examination at trial,” claiming “[u]nder the analysis applied just three

  years ago in Bresler, exclusion of Dr. Gall’s market opinions will likely lead only to a second

  trial.” Dkt. 208 at 11 (citing Bresler v. Wilmington Tr. Co., 855 F.3d 178 (4th Cir. 2017)).

  Plaintiff’s criticism of Magistrate Miller’s order based on the holding in Bresler is misguided.

         In Bresler, the Fourth Circuit, applying the deferential standard used when reviewing




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  evidentiary decisions, upheld a trial court’s decision to admit expert testimony. Bresler, 855 F.3d

  at 195 (holding “that although [expert] Pugh’s testimony was unclear at various points during the

  trial, the district court did not abuse its discretion in declining to exclude Pugh’s testimony

  under Daubert.”) The expert at issue in Bresler was an accountant, who used established formulas

  to conduct a complex damages calculation. Bresler, 855 F.3d at 188. Here, in contrast, Plaintiff’s

  proposed expert lacks any formal training in marketing or sales. See, e.g., Dkt. 108-5 at 15:23-24

  (“I have not received any degrees in business from an educational institution.”). And instead of

  employing a well-understood formula to reach his opinion—as the accounting expert did in

  Bresler—Dr. Gall used no accepted methodology at all to calculate purported future sales. See,

  e.g., Dkt. 108-5 at 155:7-13; Ex. A at 26:3-5 (Magistrate Miller explaining: “There is no model.

  He just said 70 percent, a hundred percent. There isn’t anything there. He hasn’t offered any basis

  for how he got to those numbers.”)

         Nothing in Bresler supports Plaintiff’s argument that Dr. Gall’s flawed and unfounded

  opinions should be presented to the jury and tested through cross-examination. Indeed, that

  argument ignores voluminous prior precedent. As the Fourth Circuit explained just three years

  ago, “[t]he district court’s ‘gatekeeping function’ under Daubert ensures that expert evidence is

  sufficiently relevant and reliable when it is submitted to the jury.” Nease, 848 F.3d at 231 (emph.

  in original). It is reversable error for a trial court to abandon its gatekeeping role and shift the

  burden to the jury to determine the reliability after an expert’s opinion. Id. (holding “the district

  court did not perform its gatekeeping duties” because “[t]he fact that an expert witness was subject

  to a thorough and extensive examination does not ensure the reliability of the expert's testimony”)

  (quotation marks omitted); see also Lipitor (Atorvastatin Calcium) Mktg. v. Pfizer, Inc., 892 F.3d

  624, 634 (4th Cir. 2018) (affirming exclusion of expert opinion as unreliable when the opinion




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  was based on a result-driven analysis using cherry-picked data); Small v. WellDyne, Inc., 927 F.3d

  169, 177 (4th Cir. 2019) (“[I]t is not enough for an expert to rely on his subjective belief. [] Without

  testing, supporting literature in the pertinent field, peer reviewed publications or some basis to

  assess the level of reliability, expert opinion testimony can easily, but improperly, devolve into

  nothing more than proclaiming an opinion is true ‘because I say so.’”)

         None of these recent Fourth Circuit cases are in tension with Bresler, and all of them

  support, and indeed require, the exclusion of the unfounded expert opinions at issue here.

             A. Dr. Gall’s Market Projections Do Not Utilize Any Established Methodology

         Magistrate Miller correctly held that “Dr. Gall may not offer his projections for Rad-

  Guard’s hypothetical market penetration and lost future sales because those projections are not

  based on any reliable data or method[.]” Dkt. 200 at 1. Plaintiff now contends that “[t]here is no

  plausible way that Dr. Gall’s opinions should be excluded for lack of reliable data or methods.”

  Dkt. 208 at 7. None of the nine factors that Plaintiff conjures in support of that contention speak

  to the reliability of any principle or method employed by Dr. Gall, however. See Dkt. 208 at 9-10.

         Plaintiff claims, for example, that Dr. Gall’s opinion regarding “the number of Rad-Guards

  each cath lab likely would purchase during its 10-year equipment procurement cycle; i.e., 5 units

  on average over 10 years” is supported by “the spreadsheet [Dr. Gall] attaches to his report

  showing Burlington itself sold 8 of its infringing product to a single hospital system in just 3 years.”

  Dkt. 208 at 9. As an initial matter, there is no spreadsheet attached to Dr. Gall’s report. See Dkt.

  209-2 (Gall Report) at p. 28 (listing the exhibits to Dr. Gall’s report). The document referenced by

  Plaintiff is instead Gall Deposition Ex. 5 (BML_00001), which Dr. Gall does not appear to have

  relied on when preparing his report. See Dkt. 108-5 at 115:5-117:4. In any event, while

  BML_00001 does indeed show that one facility—New Hanover Regional Medical Center—




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  purchased eight IV mounted barriers from Burlington, that same spreadsheet also shows that only

  thirteen different facilities ever purchased IV mounted barriers at all, resulting in total sales of a

  whopping 32 barriers. See Dkt. 108-4 (BML_00001).3 That data does not remotely support Dr.

  Gall’s prediction of near universal demand for IV mounted barriers. Indeed, it does not even

  support Dr. Gall’s opinion regarding the average number of Rad-Guards each facility would

  purchase, since Dr. Gall opined each facility would, on average, purchase five units, while

  BML_00001 shows each facility purchased, on average, under 2.5 units. Id.

         Dr. Gall’s belief in “near universal demand” for the Rad-Guard is also contradicted by a

  great deal of other evidence. See, e.g., Dkt. 129-1 at TRS_003949 (TRS Rad-Guard Q&A script

  explaining “You can’t expect every lab to buy one for each room but you can expect more to be

  used if you give them away.”); Ex. B (Feb. 13, 2017 email to Plaintiff’s new sales representative)

  at TRS_004109 (listing reasons customers have given for not buying Rad-Guards, including:

  “They can’t see through the Rad-Guard”; and “We don’t really need the Rad-Guard.”). Even Dr.

  Gall’s observation regarding 10-year hospital equipment procurement cycles applies only to major

  medical equipment according to Dr. Gall, and not to the purchase of “ancillary” equipment like

  Rad-Guards. See Dkt. 209-2 (Gall Report) ¶ 63. And Dr. Gall’s belief that there are no non-

  infringing alternatives to the Rad-Guard is simply false. See, e.g., Dkt. 108-7 at TRS_003042

  (August 2018 email to Plaintiff stating “We haven’t seen a lot of interest in Rad-Guard because

  our hospitals have other mobile barriers that they use.”).

         This is not mere quibbling about the values an expert chooses to use in a well-understood

  equation, as was the case in Bresler, 855 F.3d at 195-96. Unlike the accounting expert in Bresler,



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   Plaintiff has also now acknowledged one of the final two IV mounted barriers ever sold, which
  was purportedly purchased by “Lindsay Graham” in South Carolina, was in fact ordered at the
  direction of Plaintiff. See Defs.’ MSJ (Dkt. 159) Ex. 14 (R. Shealy Dep.) at 19:9-21:3.

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  Dr. Gall’s opinions rely on no established methodology at all. See, e.g., Ex. A at 22:12-21 (“[T]he

  question that has to be answered in this hearing is whether [Dr. Gall] based his opinion on

  sufficiently reliable methods or data such that it will be helpful to the jury, and I can’t see it. I don’t

  see what he even based it on.”). There is no calculation to even review here, because Dr. Gall did

  not perform any calculations at all, apart from multiplying the number of cardiac catheterization

  labs by five. Instead, Dr. Gall presents his purely subjective belief about market demand for Rad-

  Guard, which was driven by Plaintiff’s demands in this litigation. See, e.g., Dkt. 108-5 at 151:7-

  11(acknowledging even “my 100 percent market of 10,000 units, not surprisingly, has been

  criticized as ridiculously low” by Plaintiff).

          “Expert testimony must be ‘based on sufficient facts or data,’ and the expert must arrive at

  his opinions by properly applying ‘reliable principles and methods’ to the facts.” Hickerson, 882

  F.3d at 481 (citing Fed. R. Evid. 702). Like the expert who was properly excluded in Tyger Constr.,

  Dr. Gall’s opinions instead rely on assumptions that are demonstrably counterfactual. Tyger

  Constr. Co. v. Pensacola Constr. Co., 29 F.3d 137, 143 (4th Cir. 1994). Magistrate Miller thus

  properly excluded Dr. Gall’s unfounded opinion regarding hypothetical Rad-Guard sales.

              B. Dr. Gall’s Opinion Regarding Lost Future Sales is Equally Unfounded

          The support for Dr. Gall’s related opinion regarding lost future Rad-Guard sales is likewise

  pure fantasy. Plaintiff cites six factors that supposedly support Dr. Gall’s opinion that as a result

  of Defendants’ actions, Plaintiff will sell 7,000 Rad-Guards over twenty years (70% market

  penetration), instead of selling 10,000 units over ten years (100% market penetration). Dkt. 208 at

  10. None of the six factors listed by Plaintiff provide a reliable foundation for Dr. Gall’s opinion.

          Plaintiff argues that Dr. Gall first “identifies the considerable problems that the Rad-Guard

  now faces as a result of the Defendants’ actions.” Dkt. 208 at 10 (citing p. 25 of Dr. Gall’s report).




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  The full extent of what Dr. Gall actually says on that topic at page 25 of his report, however, is as

  follows: “Under conditions of interrupted or interfered-with sales with a simultaneous introduction

  of a similar but inferiorly performing infringing product, the market performance of the RadGuard

  would be considerably diminished.” Dkt. 209-2 (Gall Report) ¶ 70. That is pure speculation, and

  counterfactual to boot, since Burlington’s IV mounted barriers were not introduced to the market

  at the same time as Rad-Guard, nor is there any reliable evidence that the few facilities who

  actually purchased IV mounted barriers were unhappy with their performance. See, e.g., Dkt. 108-

  5 at 150:3-11(“Q. What is the basis for your belief that the market was negatively impacted by the

  reputation of Burlington's product? A. So I certainly read somewhere that there was some product

  which was sent back for delamination or something like that.”); Ex. C (Pl.’s Resp. to 2nd Req. for

  Production) at 2, Req. No. 37 (confirming there are no documents supporting Plaintiff’s contention

  that the IV mounted barriers sold by Burlington generated negative publicity in the industry).

         The remaining five factors are no more illuminating. The fourth factor, for example,

  suggests Dr. Gall’s opinion is supported because “the reduction to 70%” market share is “neither

  the most optimistic scenario nor the least optimistic scenario.” Dkt. 208 at 10. The fact that Dr.

  Gall could have arbitrarily picked a higher or lower number instead of landing on 70% does

  nothing to demonstrate that his opinion is the product of any reliable methodology, however. See,

  e.g., Ex. A at 26:3-5. The fifth listed factor is similarly circular, and unhelpful. It states that Dr.

  Gall “confirm[ed] the appropriateness of the 70% figure in deposition testimony as based on the

  factors above and his considerable experience in the industry.” Dkt. 208 at 10 (citing Gall Dep. at

  139:23-141:14 & 142:24-144:12). The cited portions of Dr. Gall’s deposition, however, address

  the two purportedly similar products that Magistrate Miller already specifically addressed, and

  correctly found to be unhelpful. Dkt. 200 at 1-2 (stating Dr. Gall’s “anecdotal reference to two




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  other products during his deposition did not appear to inform his disclosed expert opinion on future

  sales of the Rad-Guard as he was unable to offer any documentation or evidence related to either

  product or to any other similar product which might support his hypothetical projections.”).

         Tellingly, when Dr. Gall was asked if he could identify any treatise or text that provides

  support for his conclusion that Burlington’s sale of just 32 IV mounted barriers, to just thirteen

  institutions, would depress Rad-Guard sales for the next twenty years, leading to the loss of

  thousands of Rad-Guard sales, he stated: “It would not surprise me if there were such reports.

  Harvard Business School turns out case reports like farmers turn out corn, so I'm sure we could

  find one. I cannot cite one for you.” Dkt. 108-5 at 155:7-13. Neither Bresler, nor Daubert, nor

  Kumho, nor any other case cited by Plaintiff, permits this kind of rank speculation in the guise of

  expert testimony. See, e.g., Nease, 848 F.3d at 231 (“One especially important factor for guiding

  a court in its reliability determination is whether a given theory has been tested.”); Cooper, 259

  F.3d at 202 (“if an expert utterly fails to consider alternative causes or fails to offer an explanation

  for why the proffered alternative cause was not the sole cause, a district court is justified in

  excluding the expert’s testimony.”).

         As the Fourth Circuit recently reiterated: “Expert witnesses have the potential to be both

  powerful and quite misleading.” Small, 927 F.3d at 176 (quotation marks omitted). Trial courts

  must accordingly confirm that a “proffered expert opinion is ‘based on scientific, technical, or

  other specialized knowledge and not on belief or speculation.’” Nease, 848 F.3d at 229 (quoting

  Oglesby v. Gen. Motors Corp., 190 F.3d 244, 250 (4th Cir. 1999)). “It is not enough for an expert

  to rely on his subjective belief. Without testing, supporting literature in the pertinent field, peer

  reviewed publications or some basis to assess the level of reliability, expert opinion testimony can

  easily, but improperly, devolve into nothing more than proclaiming an opinion is true ‘because I




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  say so.’” Small, 927 F.3d at 177. Dr. Gall’s proposed opinions regarding future Rad-Guard sales

  do exactly that, and were thus properly excluded.

             C. Dr. Gall is Not an Expert in Marketing or Sales

         Magistrate Miller’s conclusion that Dr. Gall “lacks the necessary qualifications, education,

  training, and experience to opine generally on lost future sales” (Dkt. 200 at 1) is likewise amply

  supported by the record and controlling law. Dr. Gall has no formal training in sales or marketing,

  and he has never previously been asked to testify regarding sales projections, nor has he ever

  written, taught, or presented on that topic. See Dkt. 108-5 at 15:23-24 (“I have not received any

  degrees in business from an educational institution.”); Id. at 155:20-156:3 (“Q. Have you ever been

  asked to provide any opinion, expert opinion on marketing or sales before? A. I have not.”) His

  training and education are in nuclear physics, not sales or marketing. Dkt. 208-1 (Gall CV).

         Plaintiff complains that Magistrate Miller did not sufficiently consider Dr. Gall’s role in

  hospital procurement. But Dr. Gall’s experience working in hospitals where he helped to make

  purchasing decisions, which ended over 15 years ago, does not qualify him to opine on the

  purchasing decisions to be made by every cardiac catheterization laboratory in the United States

  over the next ten to twenty years. See, e.g., Xpert Universe, Inc. v. Cisco Sys., No. 09-cv-157, 2013

  U.S. Dist. LEXIS 31327 (D. Del. Mar. 7, 2013) (rejecting proposed expert testimony on projected

  future sales when plaintiff’s expert possessed expertise in computer science, but not “market

  performance” and “commercial success”). Dr. Gall admits, moreover, that he has never even

  worked in a cardiac catheterization lab—the primary market at issue. Dkt. 108-5 at 37:24-38:7.

         Plaintiff argues that Magistrate Miller “ignores all of Dr. Gall’s consulting work assessing

  market conditions for radiological product lines, including devices that sell for thousands of

  dollars, not tens of millions.” Dkt. 108 at 12 (citing Gall Dep. at pp. 18-19). The full extent of Dr.




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  Gall testimony on that topic, however, reads as follows: “I provide technical consulting to medical

  device manufacturers. I have provided startup business development consulting to large Chinese

  firms that wanted to establish a foothold in the United States.” Dkt. 108-5 at 18:21-19:2. Nothing

  in that cursory response suggests that Dr. Gall’s consulting work involved evaluating the expected

  sales of products similar to Rad-Guard, let alone demonstrates he is capable of doing so reliably.

         The proponent of expert testimony bears the burden of establishing that testimony is

  admissible by a preponderance of the evidence. Cooper, 259 F.3d at 199. Cryptic references to

  consulting during a deposition fall far short of meeting that burden. Dkt. 108-5 at 18:21-19:2.

  Magistrate Miller’s conclusion that Dr. Gall does not have the necessary qualifications, education,

  training, and experience to opine on protected future Rad-Guard sales is thus again well founded.

   II. DR. VANDERHART’S DAMAGES CALCULATION BASED ON LOST FUTURE
       RAD-GUARD SALES MUST ALSO BE EXCLUDED BECAUSE IT RESTS ON DR.
       GALL’S UNRELIABLE OPINIONS

         Magistrate Miller also properly excluded Dr. Vanderhart’s calculation of Plaintiff’s

  purported damages from lost future Rad-Guard sales, because those calculations are based on Dr.

  Gall’s unreliable market projections. Dkt. 200 at 2. As Magistrate Miller explained, “Because the

  sole basis for Dr. Vanderhart’s opinions on lost Rad-Guard profits derived from future sales is Dr.

  Gall’s excluded projections of those sales, her opinions on those lost future sales, as well as the

  present value calculations based on Dr. Gall’s market penetration opinions, lack any reliable basis

  and must be excluded.” Dkt. 200 at 2. Magistrate Miller’s decision is again amply supported by

  copious case law excluding damages calculations based on unrealistic assumptions. See, e.g.,

  Boucher v. U.S. Suzuki Motor Corp., 73 F.3d 18, 21 (2d Cir. 1996) (“Where lost future earnings

  are at issue, an expert’s testimony should be excluded as speculative if it is based on unrealistic

  assumptions”); accord MyGallons LLC v. U.S. Bancorp, 521 F. App’x 297, 307 (4th Cir. 2013).




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  III. DR. VANDERHART’S OPINION ON THE NUMBER OF CARDIO-TRAP’S THAT
       SUPPOSEDLY SHOULD HAVE BEEN SOLD IS LIKEWISE UNFOUNDED

         Magistrate Miller also properly excluded Dr. Vanderhart’s opinion regarding the number

  of Cardio-Trap systems that Burlington supposedly could have sold if it had only tried harder. Dkt.

  200 at 2-3. As an initial matter, none of Plaintiff’s causes of action allege Defendants failed to sell

  a sufficient number of Cardio-Traps. Dkt. 1. Defendants, moreover, had no obligation to sell any

  set number of Plaintiff’s products at all. See Dkt. 199 (MSJ Reply) at 2. In any event, Magistrate

  Miller correctly held that Dr. Vanderhart’s “selective citation to opinions of sales representatives

  is insufficient - standing alone - to support any continuing obligation by Burlington to market the

  product, or the precise number of units she claims could have been sold.” Dkt. 200 at 3.

         Plaintiff insists that “[t]he sales team’s projections are proper evidence of likely future

  performance,” Dkt. 208 at 14, but Plaintiff fails to rebut Magistrate Miller’s conclusion that Dr.

  Vanderhart’s Cardio-Trap sales projections are improperly based on cherry-picked statements

  from just a few Burlington sales representatives. See, e.g., Lipitor (Atorvastatin)., 892 F.3d at 634

  (“Result-driven analysis, or cherry-picking, undermines principles of the scientific method and is

  a quintessential example of applying methodologies (valid or otherwise) in an unreliable fashion.”)

  Among many contrary pieces of evidence not taken into account in Dr. Vanderhart’s Cardio-Trap

  sales projections are Trans-Radial’s own prior statements regarding Burlington’s success with

  Cardio-Trap sales, and the experience of multiple other distributors who tried to sell Plaintiff’s

  products, with even less success. See, e.g., Ex. D (Sept. 5, 2018 email from Plaintiff stating

  “Burlington has done a good job” marketing Cardio-Trap). Magistrate Miller’s decision to exclude

  Dr. Vanderhart’s testimony regarding the number of additional Cardio-Trap sales that Burlington

  purportedly should have made is thus again well founded.




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                                           CONCLUSION

         Magistrate Miller did not ignore Plaintiff’s arguments, weak though they may be, as

  Plaintiff’s unfairly suggests. Dkt. 208 at 10 (claiming “The Magistrate Judge’s order is silent as to

  what part of this is unreliable”). Instead, Magistrate Miller reviewed the relevant expert reports

  carefully, before reaching the unavoidable conclusion that the opinions at issue are unreliable and

  must accordingly be excluded. Plaintiff’s Objection should thus be denied, and Magistrate Miller’s

  decision should be affirmed for the reasons set forth above.


  Dated: June 17, 2020                              Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I certify that on June 17, 2020, I electronically filed the foregoing document with the

  Clerk of the Court, using the Court’s ECF system, which will send a “Notice of Electronic

  Filing” to all attorneys of record in this proceeding.



                                                           /s/ Rebecca S. LeGrand
                                                               Rebecca S. LeGrand




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